              Case 2:14-cr-00239-KJM Document 178 Filed 11/29/17 Page 1 of 2


 1 Dina L. Santos, SBN 204200
   A Professional Law Corporation
 2 455 Capitol Mall, Suite 802
   Sacramento, CA 95814
 3 Telephone: (916) 447-0160
   Facsimile: (916) 447-2988
 4

 5 Attorney for:
   GERALD OSBORNE
 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                           CASE NO. 14-0239 GEB
10
                                   Plaintiff,            STIPULATION TO CONTINUE J&S TO 1/12/18
11                                                       AT 9:00 A.M.
                             v.
12
     GERALD OSBORNE,
13                                 Defendants

14
                                                 STIPULATION
15
             Plaintiff United States of America, by and through its counsel of record, Jill Thomas, and
16
     Defendant, Gerald Osborne, represented by Attorney Dina Santos, hereby stipulate to continue the date
17
     of Judgement and Sentencing to January 12, 2018, at 9:00 a.m. Probation will be advised of the new
18
     date.
19

20

21
             IT IS SO STIPULATED.
22

23

24
     Dated: November 28, 2017                                PHILLIP A. TALBERT
25                                                           United States Attorney

26
                                                             /s/ Todd Pickles
27                                                           JILL THOMAS
                                                             Assistant United States Attorney
28
                                                         1
           Case 2:14-cr-00239-KJM Document 178 Filed 11/29/17 Page 2 of 2


 1

 2 Dated: November 28, 2017                 /s/ Dina L. Santos
                                            DINA L. SANTOS, ESQ.
 3
                                            Attorney for GERALD OSBORNE
 4

 5

 6                                       ORDER
 7        IT IS SO FOUND AND ORDERED.
 8        Dated: November 29, 2017
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            2
